Case 2:17-cr-00204-MCA

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Via ECF and Regular Mail

Honorable Madeline Cox Arleo, U.S.D,]J.

United States District Court

Martin Luther King Building & U.S. Courthouse

50 Walnut Street
Newark, NJ 07101

Re:

United States v. Karthik Nimmala

Case No.: 2:17-CR-00204-MCA

Dear Judge Arleo:

I represent Karthik Nimmala in his Motion for Early Termination of

Probation. For the reasons set forth herein, it is requested that this motion be

granted.

STATEMENT OF FACTS

On October 20, 2017, Your Honor sentenced Mr. Nimmala to a period of two

years probation. Mr. Nimmala has now been on probation for one year and has not
committed any additional offenses. He has completed all conditions imposed by the
Court and/or United States Probation and has not been charged with any violations
of probation.

Mr. Nimmala is the father of two young children, aged one year and nine

months and four months old. He and his wife reside in Georgia where he works in
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the computer field and his wife is a stay-at-home mom. His wife and children are
United States citizens.

As set forth in his Certification, Mr. Nimmala is requesting early termination
of probation as he is concerned that his probation status may result in the loss of his
new job at Primerica where he works as an application developer. Mr. Nimmala was
terminated from a previous position after his employer was advised by United
States Probation of his conviction and probation status.

In addition, Mr. Nimmala is not a United States citizen and his immigration
lawyer has advised that his successful completion and termination of probation may
be a favorable factor to gain approval for his green card.

LEGAL ARGUMENT

Title 18, United States Code, Section 3564(c) provides that this Court, after
considering the factors set forth in Section 3553(a), may terminate a term of
probation at any time after the expiration of one year of probation if the court is
satisfied that termination is warranted by the conduct of the defendant and the
interest of justice. In making this determination, the statute directs courts to consider
many of the same factors that were previously considered in imposing the initial
sentence including: the nature and circumstances of the offense and the history and
characteristics of the defendant, 18 U.S.C. § 3553(a)(1); the need for the sentence
imposed to afford adequate deterrence to criminal conduct and protect the public
from further crimes of the defendant, 18 U.S.C. §§ 3553(a)(2)(B) and (C); the need for

the sentence imposed to provide the defendant with needed educational or
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vocational training, medical care, or other correctional treatment in the most
effective manner, 18 U.S.C. § 3553(a)(2)(D); the sentencing range applicable to the
defendant under the advisory Sentencing Guidelines along with any pertinent
policy statement by the United States Sentencing Commission, 18 U.S.C. §§
3553(a)(4) and (5); the need to avoid unwarranted sentence disparities among
similarly situated defendants, 18 U.S.C. § 3553(a)(6); and the need to provide
restitution to any victims, 18 U.S.C. § 3553(a)(7). United States v. Corpuz, 2013 WL
6622916 (W.D. Pa. 2013).

However, 18 U.S.C. § 3564(b)(c) does not provide for early termination solely
based on defendant's compliance with the terms of probation. Rather, the Third
Circuit has instructed that “early termination of supervised release ... should occur
only when the sentencing judge is satisfied that something exceptional or

extraordinary warrants it.” Id. at *2 (quoting United States v. Laine, 404 Fed. Appx.

 

971, 573-74 (3d Cir. 2010)). As explained in Laine, “[s]imple compliance with the
conditions of supervised release [is] expected and not exceptional...” Laine, 404 Fed,
Appx. at 574. See also, e.g., United States v. Guilliatt, 2005 WL 589354, at *1 (E.D. Pa.
Jan.18, 2005) (“early termination of probation should be ordered only in
extraordinary circumstances”); United States v. Williams, 2006 WL 618849, at *1
(E.D. Pa.2006); United States v. Caruso, 241 F.Supp.2d 466, 468-69 (D.N.J. 2003)
(requiring a showing of “new or exceptional” circumstances warranting termination

of probation)).
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I submit that the Court should grant this motion in the interest of justice. As
set forth in his Certification and this letter brief, Mr. Nimmala has now completed
one year on probation. He has not committed any offenses or violated any terms of
probation. He has a young family to support and has recently found good
employment near his home to support his family. In addition, Mr. Nimmala is
trying to obtain permanent legal status in the United States and early termination of
probation may assist in that process.

It is submitted that Mr. Nimmala has not only fully complied with all of the
conditions of his probation, but has taken exceptional steps to better his life and that
of his family and to ensure that he remains a productive member of society.

CONCLUSION
Accordingly, it is respectfully requested that this motion be granted.

Respectfully submitted,

(A f)

Paul B. Brickfield

ce: United States Attorney's Office (via ECF and regular mail)
Probation Officer Christopher Washington (via electronic and regular mail)
United States Probation, District of New Jersey (via regular mail only)
